Case 1: 04- --Cr 10091- .]DT Document 36 Filed 04/28/05 Page 1 of 2 Page|D%§

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IN THE uNITED sTATEs DISTRICT coURT 4§ \.\
FoR THE wEsTERN DISTRICT oF TENNESSEE / ’Pg& \\0
EAsTERN DIvISIoN QFSK) §§ C’
459/§§ if 419 53-
UNITED sTATEs oF AMERICA \“-' §§/4`0&0//;9 39
@_`4§£~049/*0449
vs. cR No. 1. 04-10091- 01 §§ §§

JUSTIN MCCOMIC
ORDER TO SURRENDER

Defendant, Justin McComic, #19909-076, having been sentenced
in the above styled matter to the custody of the Bureau of Prisons,
and having been granted leave by the Court to report to the
designated institution at his own expense, is hereby ordered to
surrender himself to the Bureau of Prisons by reporting to:
Manchester FCI SCP, P. O. Box 3000, Manchester, KY 40962
(Telephone #606-598-1900) no later than 12:00 Noon on Tuesday,
May 31, 2005.

It is further ordered that upon receipt of a copy of this
order, the defendant shall sign and return the copy, to acknowledge
receipt of said order and that he will report as directed to the
above named institution.

IT IS ORDERED.

` A.A¢M

J S D. TODD

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DATE:_Q,X 6

ACKNOWLEDGMENT TO BE SIGNED BY THE DEFENDANT: I agree to report as
directed in the above order and understand that if I fail to so
report, I may be cited for contempt of court and if convicted, may
be punished by imprisonment or fine or both.

 

 

 

Date Defendant Signature

This document entered on the docket ln pllance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 1:04-CR-10091 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

Justin McComic
231 Blackberry Hill
LeXington, TN 38351

Jerry R. Kitchen

U.S. ATTORNEY
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David W. Camp

LAW OFFICES OF DAV]D CAl\/[P, PLLC
403 N. Parkway

Jackson7 TN 38305

Honorable J ames Todd
US DISTRICT COURT

